     Case 2:12-cr-00232-LDG-PAL            Document 70     Filed 04/18/13      Page 1 of 1



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 3
 4                                   UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                   ***
 7
       UNITED STATES OF AMERICA,                                     2:12-cr-00232--PAL
 8
                              Plaintiff,
 9                                                        ORDER TO MODIFY CONDITIONS OF
       vs.                                                      PRETRIAL RELEASE
10
       EDWIN ROSALES,
11
                              Defendant..
12
                     Based on the Motion to Modify Conditions of Pretrial Release, and good cause
13
      appearing therefore,
14
                     IT IS HEREBY ORDERED ADJUDGED AND DECREED that the Motion to
15
      Modify Conditions of Pretrial Release to permit travel to Arizona on April 19th, 2013 through April
16
      23, 2013 is hereby GRANTED.
17
                     DATED: April  , 2013.
18

19                                                 ____________________________________
                                                   UNITED STATES
                                                   UNITED
                                                   UNITED  STATESDISTRICT
                                                            STATES        JUDGE JUDGE
                                                                     DISTRICT
                                                                   MAGISTRATE    JUDGE
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                                                   LLOYD D. GEORGE
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